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                Phone Numbers Associated
                   with Rajay Dobson
876.770.7685 – Provided by Luton during post-arrest interview & saved in Luton’s contacts as
               “Max Bird” [CELL_48]

876.774.3214 – Provided by Luton during post-arrest interview & saved in Luton’s contacts as
               “Bird Lime” and referred to as “Fry” in WhatsApp conversations [CELL_49, CELL_10]

876.562.7953 – Saved in Luton’s contacts as “Budman,” with the Snapchat User ID of “rjay733”
               [CELL_47]

876.308.6329 – Saved in Luton’s contacts as “X-Budman” & sent in text message from
               Luton to C.H. in response to Hosang’s request for “Bird’s”
               number. Photo of Dobson also saved with this contact.
               [CELL_3; CELL_45; CELL_45.001]
